                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )   CASE NO. 3:12-00219-4
                                               )   JUDGE SHARP
CHRISTINA LANDRUM                              )


                                          ORDER


       Pending before the Court is the Motion of Christina Landrum to Continue the Plea

Hearing (Docket No. 122) to which the Government does not oppose.

       The motion is GRANTED and the plea hearing scheduled for May 29, 2013, is hereby

rescheduled for Thursday, June 20, 2013, at 2:30 p.m.

       It is so ORDERED.



                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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